    Case 4:16-cv-00188-ALM Document 40 Filed 07/20/17 Page 1 of 3 PageID #: 415




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

JANINE ZIAHET and                     )
MONDAKAN OCTAVIEN ZIAHET              )
                                      )
              Plaintiffs,             )                 Civil Action No. 4:16-cv-00188-ALM
                                      )
vs.                                   )
                                      )
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JOHN F. KELLY , Secretary of the      )
Department of Homeland Security;      )
THE DEPARTMENT OF HOMELAND )
SECURITY; JAMES McCAMENT 2,           )
Acting Director of the United States  )
Citizenship and Immigration Services; )
TRACY TARANGO, Field Office           )
Director, United States Citizenship   )
And Immigration Services; and         )
THE UNITED STATES CITIZENSHIP )
AND IMMIGRATION SERVICES,             )
                                      )
              Defendants.             )

                                JOINT MOTION TO DISMISS

         The parties in the above cause, being Plaintiffs Mondakan Ziahet and Janine

Ziahet and the federal Defendants, by and through their respective counsel of record,

submit the following Joint Motion to Dismiss pursuant to Fed. Rule of Civ. Procedure

Rule 41(a)(2), and show:




1
  Pursuant to Fed. R. Civ. P. 25(d), John F. Kelly automatically replaced Jeh Johnson as the Secretary of
the U.S. Department of Homeland Security.
2
   Pursuant to Fed. R. Civ. P. 25(d), James McCament automatically replaced Leon Rodriguez as the
Acting Director of the U.S. Immigration and Citizenship Services.
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Case 4:16-cv-00188-ALM Document 40 Filed 07/20/17 Page 2 of 3 PageID #: 416




                                               I.

       On April 7, 2017, U.S. Immigration and Customs Enforcement filed a Notice to

Appear with the Dallas Immigration Court, placing Mr. Ziahet in removal proceedings

under 8 U.S.C. § 1229a. Counsel for the Plaintiffs has been notified that Mr. Ziahet has

received a hearing date before the Dallas Immigration Court Js it relates to his Notice to

Appear. For that reason, the Plaintiffs no longer desire to proceed with this pending

litigation and request that the case be dismissed without prejudice.

                                               II.

       Counsel for the Defendants joins in the Plaintiffs’ request that the pending

litigation be dismissed without prejudice.

       WHEREFORE, PREMISES CONSIDERED, all parties request that the Court

dismiss this cause without prejudice, with each party to bear their own costs, expenses,

and attorney fees.

                                             Respectfully submitted,

                                             /s/ Ryanne Konan
                                             RYANNE KONAN
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                                             Wappingers Falls, NY 12590
                                             (888) 536-1434
                                             (845) 231-0508 (fax)

                                             Counsel for Plaintiffs




                                                2
Case 4:16-cv-00188-ALM Document 40 Filed 07/20/17 Page 3 of 3 PageID #: 417




                                           BRIT FEATHERSTON
                                           ACTING UNITED STATES ATTORNEY

                                           /s/ Ruth Harris Yeager
                                           RUTH HARRIS YEAGER
                                           Assistant United States Attorney
                                           Texas Bar No. 09092700
                                           110 N. College, Suite 700
                                           Tyler, TX 75702
                                           (903) 590-1400
                                           (903) 590-1436 (fax)

                                           Counsel for Defendants



                             CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of July, 2017, a true and correct copy of the
Joint Motion to Dismiss has been electronically served on counsel of record, addressed
to:

       Ryanne Guy Konan
       Ryanne Konan Law Office
       4 Marshall Rd., Suite 107
       Wappingers Falls, NY 12590

                                              /s/ Ruth Harris Yeager
                                              RUTH HARRIS YEAGER




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